                                                                                                             Page 2

             MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
                         SENTENCE BY A PERSON IN FEDERAL CUSTODY

     United States District Court
                                                         District
                                                         -     T.      -     ¦    -*       *        -

     Na e (under   hich you   ere convicted): ,                                Docket or Case No.:
           Rick /y Pd-i i/ p                                                                        -ALM- M
     Place of Confinement: FCX                                          Prisone No.:
                                                                                                     5a
     UNITED STATES OF AMERICA                                   Movant (include name under which you were convicted)




                                                  MOTION
                                                                                                    FIEED
       (a) Name and location of court that entered the judgment of conviction you are challen R§: 2 5 2022


                                                                                                CLERK, U.S. DIST ICT COURT
        161 E. Pco n                                                                            EASTERN DISTRICT OF TEXAS
                               ) 15d (o
       (b) Criminal docket or case number (if you know):       4 8-cc-oolo3 LM'CA
2.     (a) Date of the judgment of conviction (if you know):
                                                                    o wr 7z 262(5
       (b) Date of sentencing: 2 026
3. Length of sentence: 20
4.    Nature of crime (all counts):

         2 Q. 52A 0 (2YA' - r 6k I J.
         2252A (B                                 o , L u HIP l
         ,1252a CvmW- '


5. (a) What was your plea? (Check one)

          (1) Not guilty        (2) Guilty ,tp (3) Nolo contendere (no contest)
      (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count
      or indict ent, what did you plead guilty to and what did you plead not guilty to?




6. If you went to trial, what kind of trial did you have? (Check one) Jury                        Judge only
                                                                                             Page 3

7.   Did you testify at a pre rial heai'ing, t ial, or post-trial hearing? Yes         No
8.   Di you appeal from t e jud ment of conviction? Yes 8                              No
9.   If ou did appeal, answer t e followin :

     (a) N me of cou t: 0,5. jllf+dP
     (b) Docket o case numbe (if you know): 0} C
     (c) Result:
     ( ) Date of result (if you know): <3 7 20201                                            (7
     (e) Citation to the case (if you know):
     (f) Grounds raised:




     ( ) Did you file a petition fo certiorari in the United States Supreme Court? Yes       No ®.

         If Yes, answer the followin :

         (1) Docket o case number (if you know):

         (2) Result:


         (3) Date of result (if you know):
         (4) Cit tio to the case (if you know):
         (5) Grounds aised:




10. Other th n the direct appe ls listed bove, have you p eviously filed any othe motions,

     petitions, o applications concernin this judgment of conviction in any cou t?
         Yes       No W

11. If you answer to Question 10 was Yes, ive the followin info m ion:

     (a) (1) Name of court:
         (2) Docket or case number (if you kno ):

         (3) Date of filin (if you know):
                                                                                             Pa e

    (4) Nature of the proceeding:

    (5) Grounds raised:




    (6) Did you receive a hearin where evidence was given on your'motion, etition, or

    application? Yes         No

    (7) Result:
    (8) Date of result (if you know): ..
(b) If you filed any second motion, petition, or application, give the same information:

    (1) Name of court:

    (2) Docket or case number (if you know):

    (3) D e of filin (if you know):
    (4) Nature of the proceeding:

    (5) Grounds raised:




    (6) Did you receive a hearing where evidence was iven on your motion, petition, or

    application? Yes          No

    (7) Result:
    (8) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on you

motion, petition, or application?
    (1) Fi st petition: Yes             No
    (2) Second petition: Yes            No
                                                                                                  Page 5

    (d) If you did not appeal from the action on any motion, petition, or application, explain briefly
    w y you did not:




12. Fo this motion, state ever ground on which you claim that you are bein held in violation of the

    Constitution, laws, o treaties of the United States. Attach addition l pages if you have mo e

    than four grounds. State the f cts supporting each g ound.


GROUND ONE:                        If     > „ /- f


(a) Suppo ting facts (Do not a gue o cite la . Just state the specific fac s hat suppor your claim.):


                                         Az                          2'

                                                             oCa A" Laud




(b) Direct Appeal of Ground One:
   (1) If you appealed from the jud ment of conviction, did you raise this issue?

              .Yes     No ®

   (2) If y u did not raise this issue in your direct a peal, explain why:




(c) Post-Conviction Proceedings:

   (1) Did you raise this issue in any ost-conviction motion, petition, or application?
               Yes     No S
   (2) If your answer to Question (c)(1) is Yes, state:
   Type of otion or petition:

   Name and location of the cou t where the motion or petition was file :
                                                                                                Page 6

    Docket or case number (if you know):
    Date of the court s decision:

    Result (attach a copy of the court s opinion o order, if available):




    (3) Did you receive a hearing on your motion, petition, or ap lic ion?

        Yes      No

   , (4) Did you appeal f o the denial of you motion, petition, o applic tion?

        Yes      No

    (5) If your answer to Question (c)( ) is Yes, did you raise this issue in the appeal?

        Yes      No

    (6) If your answer to Question (c)(4) is Yes, state:

    Name and location of the cou t whe e the appeal was filed:



    Docket or case number (if you know):

    Date of the court’s decision:

    Result ( ttach a copy of the court’s opinion o or e , if available):


                                                                  <


    (7) If your answer to uestion (c)(4) or uestion (c)(5) is No, ex lain why you di not appeal or

    raise this issue:




ground TWO: U o&r

(a) Supportin facts (Do not ar ue o cite law. Just state the specific facts that suppo t you clai .):




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                                                                                           Page 7




(b) Direct Appeal of Ground wo:

   (1) If you appealed from the jud ment of conviction, did you raise this issue?
       Yes . No tt

   (2) If you did not raise this issue i you direct appeal, explain why:

                             H&A Y o
(c) Post-Conviction Proceedings:

   (1) Did you raise this issue in any post-conviction motion, petition, or application?

       Yes     No M

   (2) If your answer to Question (c)(1) is Yes, state:

   Type of otion or petition:
   Name a d location of the court where the otion or petition was filed:



   Docket or c se number (if you know):

   Date .of the cou t s decision:

   Result (attach a copy of the court’s opinion or order, if available):




   (3) Did you receive a hearin on you motion, petition, o application?

       Yes                          No

   (4) Did you p eal f om the denial of your motion, petition, or pplication?

       Yes      No

   (5) If your nswer to uestion (c)( ) is Yes, did you raise this issue in the appeal?

       Yes      No

   (6) If your answe to Question (c)(4) is Yes, state:
   Name and location of the court where the p eal was filed:



   Docket o case number (if you know):
   Date of the court’s decisio :

   Result (attach a copy of t e court’s opinion or o der, if available):
                                                                                                Page 8

    (7) If your answer to Question (c)(4) or Question (c)(5) is No, explain why you did not appeal or
    raise t is issue:




GROUND THREE: Pi y

(a) Supporting facts (Do not a gue o cite law. Just state the specific facts that su ort your claim.):

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    +                                      t!
                  j      'e-         J      3         A-                   -c        -o       A          ,

    151 193 -e-                                      tA. M<>P

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    gtbc

(b) Direct Appeal of Ground Th ee:
   (1) If you appealed from the judgment of conviction, did you raise his issue?
       Yes ft No
   (2) If you di not aise this issue in your direct a peal, explr why:

       App&( (/\4                       Co          t     o             y tv\        Aba6(?
                                            in_C(         6+ _'h>
(c) Post-Convictio                                      Proceedings: . w'/D

   (1) Did you raise t is issue in any post-conviction motion, petition, or application?
       Yes     No .tel

   (2) If your answer to Question (c)(1) is Yes, state:

   Type of motion or petition:

   Name and location of the court w ere t e motion or petition w s filed:



   Docket or case numbe (if you know):

   D te of t e court s decision:
                                                                                                   Page 9

    Result (attach a copy of t e court s opinion or order, if vailable): ' •




    (3) Did you receive a hearin on you motion, petition, or application?

        Yes       No

    (4) Did you ap eal f om the de ial of you motion, petition, o applic tion?
        Yes                                No                           -

    (5) If your answer to Question (c)(4) is Yes, did you raise this issue in he appeal?
        Yes             No          -

    (6) If your answer to Question (c)(4) is Yes, st te:

    Name nd location of the cou t where the appeal was filed: '



    Docket or case number (if you know):

    Date of the cou t s ecision:

    Result (attach a copy of the cou t’s opinion or order, if avail ble):




    (7) If your answer to Question (c)(4) o Question (c)(5) is No, explain why you did not ppeal or
    r ise this issue:




GROUND FOUR: V o) U

(a) Supporting facts (Do not argue or cite law. Just state the specific f cts that support your claim.):




                Vor                     35                     e            fi    .      f©

    by                   C               5            Z              brS



  Vo           DtApacd ce. waa 35

     'l'c- e ec                         h, Y CoaC~ / tkS y,
                                                                                          Page 10




(b) Direct Appeal of Ground Four:

   (1) If you appealed from the judgment of conviction, did you raise this issue?
       Yes     No ®

   (2) If you did not aise this issue in you direct appeal, explain why:

        Wo             Vai
(c) Post-Conviction Proceedings:

   (1) Did you raise this issue in any post-conviction motion, petition, o application?
       Yes                                No                  0            ¦

   (2) If your answe to Question (c)(1) is Yes, state:
   Type of motion or petition:
   Name and location of the court where the motion or petition was filed:



   Docket or c se nu be (if ou know):

     ate of the court s decision:

   Result (attach copy of the court s opinion o orde , if available):




   (3) Did you receive hea in on your motion, petition, or application?

       Yes      No

   (4) Did you appeal from the denial of your motion, petition, o ap lication?

       Yes      No

   (5) If you answe to Question (c)(4) is Yes, did you raise this issue in the appeal?

       Yes      No      .

   (6) If your answer to Question (c)(4) is Yes, st te:
   Na e and location of the court w ere the appeal was filed:




   Docket or case number (if you know):
   D te of the cou t’s decision:

   Result (attach a copy of the court’s opinion or order, if available):
                                                                                             Page 11

    (7) If your answer to Question (c)(4) or uestio (c)(5) is No, explain why you did not appeal or
     aise t is issue:




13. Is there any ground in his motion that you have not previously presented in some federal court?

   If so, which ground or rounds ave not been presented, and st te your re sons fox- not

   presentin them:




          >       L 2>,

14. Do you have ny motion, petition, or appe l now pending (filed and not decided yet) in any court

   for the jud ment you are challen in ? Yes        No ffl

   If Yes, state the name nd location of the court, the docket or case number, the type of

   proceedin , and the issues raised.




15. Give the name nd address, if known, of each attorney who represented you in the following

   sta es of the judgment you are challenging:

   (a) At preliminary hea in :

                                                                        A
   (b) At arraignment nd plea:

       Robe-C'V A Oai i J£-
                                                                        Pbb
   (c) At rial:
                                                          P s+ A Jr
                                                                  IS,
   (d) At sentencin :
                                                                  Mz i, / 750                 )
                                                                                                 Page 12

    (e) On appeal:

      Bc.I           Ge.0           O       he       - o       pfc,o,'oa5 p e
   (f) In any post-conviction proceedin : I £-J

      P CO
   ( ) O appeal from any ruling against you in a post-conviction proceeding:




16. Were you sentenced on more than one count of an indictment, o on more than one indictment, in

   the same court and at the same time? Yes 12 No

17. Do you have ny future se tence to se ve after you complete the sentence for the judgment that
   you are challen in ? Yes                         No -Si

   (a) If so, ive name and location of court that imposed the other sentence you will serve in the
   future:



   (b) Give the date the othe sentence was imposed:

   (c) Give the leng h of the other sentence:

   (d) Have you filed, or do you plan to file, any motion, petition, or application th t challen es the
   jud ment or sentence to be served in the future? Yes          No
                                                                                             Page 13

18. IMELINESS OF MO ION: If your judgment of conviction became final over one year ago, ou'

    must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
    bar your motion.




     Ctx                          H by +U
      ~L               &A.                k           t     A




* he Antite rorism and Effective De th Penalty Act of 1996 ( AEDPA ) as contained in 28 U.S.C.
§ 2255, paragraph 6, p ovides in part that:
   A one-year eriod of limitation shall apply o a motion under this section. he limitation period
   .shall run from the latest of
        (1) the date on which the judgment of conviction became final; .
        (2) the date on which the impediment to making a motion c eated by overnment l action in
       violation of the Constitution or laws of the United States is removed, if the movant was
       prevented from making such a motion by such govern ental action;
       (3) the date on which the ight asserted was initially reco nized by the Supreme Cou t, if
       that i ht has been newly recognized by the Supre e Court and m de ret oactively
       applicable to cases on collateral review; o
       (4) the date on which the facts supporting the claim o claims presented could have been
       discovered th ou h the exercise of due diligence.
                                                                                                 Page 14

Therefore, movant sks that the Court rant the following relief:

          Ac      ii'Jc- or toM d 6 t . -ci4          aA l
                                 I0      pW i
or any othe relief to which mov nt m y be entitled.




                                                           Si nature of Atto ney (if any)




I declare (or certify, verify, o state) under penalty of perjury that the foregoin is true and cor ect

and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on

                 (month, date, year).




Executed (signed) on                             (date).




                                                           Si nature of Mov nt



If the person signing is not mov nt, state rel tionship to movant and explai why movant is not

signin this motion.
